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                         Exhibit G
                       Case 3:16-cv-00940-MPS Document 82-9 Filed 06/13/18 Page 2 of 4


                                                    AFFIDAVIT OF NON-SERVICE

                                               UNITED STATES DISTRICT COURT
                                                     District of Connecticut

       Case Number: 3:16-CV-00940

       Plaintiff:
       Denis Marc Audet, et al.
      vs.
       Defendant:
       Stuart A. Fraser, GAW Miners, LLC, and ZenMiner, LLC

       For:
       Hughes Hubbard & Reed LLP
       One Battery Park Plaza
       New York, NY 10004-1482

      Received by We Deliver Legal Services, LLC on the 1st day of May, 2018 at 11: 17 am to be served on Homero
      Joshua Garza, 8431 Miners Pt., San Antonio, Bexar County, TX 78252.

       I, Sarah C. Garcia, being duly sworn, depose and say that on the 2nd day of May, 2018 at 11 :01 am, I:

      NON-SERVED the Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of
      Premises in a Civil Action with Schedule A to be delivered, in person, to: Homero Joshua Garza, as the
      request for service was cancelled by my client. An overview of my due search, careful inquiry, and diligent
      attempts to execute service is provided in the comments below.

      Additional Information pertaining to this Service:
      5/1/2018 4:49 pm Attempted service at 8431 Miners Pt., San Antonio, TX 78252 - There were no vehicles present
      and no answer at the door. There was a lock box on the door knob. I spoke with a neighbor at 8426 Miners Pt, who
      said they did not know who lives at 8431. 8427 Miners Pt was vacant and there was no answer at the other
      neighbors at 8435, 8430, 8434, and 8422 Miners Pt.


      I am a private process server authorized by the Supreme Court of Texas. I am over the age of eighteen (18) and not
      a party to nor interested in the outcome of the suit referenced above. I have personal knowledge of each of the
      matters stated herein and the statements made in this Affidavit are true and correct.




      State of~ , County of ~

      Subscri e and Sworn to b~e
      day of                 , l
                                            ge   on the     a~~
                                                 by the affiant
                                                                                               Sarah C. Garcia
                                                                                               PSC 11763 Ex. 12/31/2018

      who is personal!                                                                         We Deliver Legal Services, LLC
                                                                                               218 N Las Moras
                                                                                               San Antonio, TX 78207
                                                                                               (210) 909-7332

                                                                                               Our Job Serial Number: WDL-2018000611
                                                                                               Ref: 032742-1

 ~t~;~r_i11,,._ JESSICA D. JESTER                                                              Service Fee: $70.00
ff{~\\ Notery Public, State of Texas
\"}_4~--~ti      Comm. Expires 06-23-2022
 "11,,flr,f-,,
                                            Copyright© 1992-2018 Database Services, Inc. - Process Server's Toolbox VB.Ob
                   Notary ID 125738086
                Case 3:16-cv-00940-MPS Document 82-9 Filed 06/13/18 Page 3 of 4



 AO 888 (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action



                                          UNITED STATES DISTRICT COURT
                                                                            for the
                                                               District of Connecticut

                      Denis Marc Audet, et al.
                                                                                 )
                                  Plain/if!                                      )
                                     V.                                          )         Civil Action No.        3:16-cv-00940
     Stuart A. Fraser, GAW Miners, LLC, and ZenMiner,                            )
                           LLC                                                   )
                                 Defendant                                       )

                              SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                                OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                      Homero Joshua Garza, 8431 Miners Pt., San Antonio, TX 78252

                                                         (Name ofperson   IO   whom this subpoena is directed)

    fJ5 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
          The items listed in Schedule A, attached.


 r-Pla~;: H~ghesHubb~;d_&_R;;d·~·P,·O~e Bat;~-p~;k Plaza~                                  I   o-;;-t; a~iTime:                 -------·----              l
II          New York,_ NY 10004, or per electronic mail, by consent                        '                      0512112018 S:OO pm                           1




       ____ of the parties._·--·--·-----------                                         J         ·- ···--- __         __ _ __     _ --·-                      _,
                                                                                                                                                               1




     0 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party


rp~~~;-                                                                                                                                              -··--]
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

                                                                                       I Date and Time:                                         ..
                                                                                       I

L                                 -- ·---- -- -------                                                               -----------                 -·-------
        The following provisions of Fed. R. Civ. P. 45 are attached- Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a. person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:      S/   1 /   1 <is
                                    CLERK OF COURT
                                                                                                 OR
                                     ----·-·-·-- ·- ---                    -- -·-
                                              Signature of Clerk or Deputy Clerk


The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)                                        Stuart A. Fraser

--     -----···--··-------·-··· -·--· ---                                ·---~----                    , who issues or requests this subpoena, are:
Sarah L. Cave, Hughes Hubbard & Reed, One Battery Park Plaza, NY, NY 10004, sarah.cave@hugheshubbard.com,
212-B3Z-6QQQ Seao Eisbec SSW I aw 271 Wbitoey Ave New Haveo CI 06511 stisber@bswlaw com 203-562-2098
                                          Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom
it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No. 3:16-cv-00940

                                                                PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, ifany)
on (date)


            0 I served the subpoena by delivering a copy to the named person as follows:


                                                                                             on (date)                                    ; or

            0 I returned the subpoena unexecuted because:

                                                                                                                        ---·· -- ·----
            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
            s
My fees are$                                        for travel and $                              for services, for a total of S                 0.00



            l declare under penalty of perjury that this information is true.


Date:                                                          ---·----· -··- ·-----                            -   .   --- -- --·- -------
                                                                                                      Server's signature



                                                                                                   Printed name and title




                                                                -- -- ---------·   __   ..                                                 -----
                                                                                                      Server's address


Additional information regarding attempted service, etc.:
